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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                *
            vs.                         *   CRIMINAL NO. MJG-11-0494
MATTHEW MACE                            *
*       *         *          *          *        *          *         *        *
                         MEMORANDUM AND ORDER

     The Court has before it a letter, undated but received this

date from Defendant Matthew Mace, presenting a Motion for

Sentence Modification.       The Court finds that neither a response

nor a hearing is necessary.

     Defendant Mace was sentenced, on November 19, 2012, to a

three year term of probation, including the condition that he

reside for a year and a day in a residential facility.                He seeks

to have the sentence modified so as to provide for home

confinement.

     The Court's authority to modify a sentence after imposition

is limited.    There is such authority (1) upon motion of the

Director of the Bureau of Prisons; (2) as permitted by statute

or Federal Rule of Criminal Procedure 35 (“Rule 35”)1 and (3)

where the relevant sentencing guidelines have changed since

sentence was imposed.    See 18 U.S.C. § 3582(c)(1)(A), (1)(B),
1
 Rule 35 permits modification of a sentence: (a) upon remand
after appeal; (b) upon motion of the Government for substantial
assistance; (c) within 14 days after sentencing if there was an
arithmetical, technical, or other clear error.
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and (2).   United States v. Clark, 8 F. Supp. 2d 560, 561 (W.D.

Va. 1998) (finding the court's hands were tied and it could not

modify the defendant's sentence to home confinement due to

defendant's failing health).     See also, U.S. v. Cook, 890 F.2d

672, 675 (4th Cir.1989) (district court does not have power to

amend a sentence simply because it changes its mind).

     Defendant Mace seeks to rely upon cited decisions of

Maryland State courts based upon Maryland rules of procedure.

These decisions do not provide authority to this Court to modify

a sentence.

     Accordingly:

           1.   The Clerk shall docket the aforesaid letter as a
                Motion for Sentence Modification.

           2.   The Motion for Sentence Modification is DENIED.

           3.   This action is without prejudice to renewal if
                Defendant Mace can provide authority that would
                permit a modification of the sentence imposed
                upon him.


     SO ORDERED, on Tuesday, February 19, 2013.




                                               /s/___   __ _
                                         Marvin J. Garbis
                                    United States District Judge
